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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION



DEFENSE DISTRIBUTED and                          §
SECOND AMENDMENT FOUNDATION, INC., §
                                                 §
                        Plaintiffs,              §
                                                 §
                        v.                       §
                                                 §
GURBIR GREWAL, in his official capacity as the §
State of New Jersey’s Attorney General;          §
MICHAEL FEUER, in his official capacity as the §
City of Los Angeles, California’s City Attorney; §   Case No. 1:18-CV-637-RP
ANDREW CUOMO, in his official capacity as the §
State of New York’s Governor; MATTHEW            §
DENN, in his official capacity as the State of   §
Delaware’s Attorney General; JOSH SHAPIRO,       §
in his official capacity as the Commonwealth of  §
Pennsylvania’s Attorney General; and THOMAS §
WOLF, in his official capacity as the            §
Commonwealth of Pennsylvania’s Governor,         §
                                                 §
                        Defendants.              §



    NEW YORK GOVERNOR ANDREW M. CUOMO’S REPLY MEMORANDUM
               IN SUPPORT OF HIS MOTION TO DISMISS
       PURSUANT TO FED. R. CIV. PROC. 12(b)(1), 12(b)(2), AND 12(b)(3)
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        Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(2), and 12(b)(3), on

November 19, 2018, Defendant Andrew M. Cuomo, the Governor of the State of New York,

filed a Motion to Dismiss Plaintiffs’ First Amended Complaint. Dkt No. 55. Plaintiffs Defense

Distributed and the Second Amendment Foundation, Inc. (“Plaintiffs”) opposed that motion on

December 12, 2018. Dkt. No. 73. For the reasons set forth in his opening memorandum of law

and for those further reasons set forth below in this reply memorandum of law, Governor Cuomo

respectfully requests that the Court dismiss this action as against him in its entirety.

                                PRELIMINARY STATEMENT

        As noted in Governor Cuomo’s opening memorandum of law, Plaintiffs have attempted

to hale the New York Governor into the United States District Court in Texas simply because he

sent a single cease and desist letter from New York to Texas and made a single telephone call

from New York to Plaintiffs’ counsel in Texas reiterating the same points made in that cease and

desist letter. But in his opening brief Governor Cuomo established that Stroman Realty, Inc. v.

Wercinski, 513 F.3d 476 (5th Cir. 2008), is a case directly on point requiring dismissal of this

action as against him. In that case, the Fifth Circuit held that when a government official from

another state does exactly what Governor Cuomo has allegedly done here, those actions do not

create the type of “minimum contacts” that are necessary under either the Texas long-arm statute

or the Due Process Clause of the U.S. Constitution to create personal jurisdiction. Id. at 483-89.

        In their opposition brief, Plaintiffs attempt to distinguish Stroman Realty and argue that it

does not even apply here because of judicial estoppel, but as is firmly established below, they

utterly fail in that task. Plaintiffs also completely fail to establish that venue is proper in this

District Court in Texas. And they absolutely fail to show that this case is ripe for review under

the Fifth Circuit’s holding in Google, Inc. v. Hood, 822 F.3d 212 (5th Cir. 2016). Thus, for all of

these reasons, Governor Cuomo’s Motion to Dismiss should be granted by the Court.
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                                          ARGUMENT

                                             POINT I

       PLAINTIFFS STILL HAVE NOT ESTABLISHED THAT UNDER
       STROMAN REALTY, INC. V. WERCINSKI, 513 F.3d 476 (5th Cir. 2008)
       THERE IS ANY PERSONAL JURISDICTION OVER GOVERNOR
       CUOMO IN THIS TEXAS DISTRICT COURT.

       In Stroman Realty Inc. v. Wercinski, 513 F.3d 476, the Fifth Circuit concluded that an

out-of-state government official did not expressly create a forum in Texas by doing things like

sending cease and desist letters to a Texas-based business and contacting that Texas-based

business’ lawyers. Those facts should surely sound familiar to this Court because they are

precisely the same set of facts that Plaintiffs allege here against a government official – Governor

Cuomo. See Dkt. No. 23, First Amend. Complt., ¶¶ 102-108, and Exhibit I. Yet the holding of

the Fifth Circuit in Stroman Realty was that, when the out-of-state government official was

merely attempting to uphold and enforce the laws of his or her own state, that cannot create

personal jurisdiction in Texas. 513 F.3d at 484. This case is directly on point and it controls the

outcome of Governor Cuomo’s motion.

       Plaintiffs try to wiggle out from under the crushing weight that the Stroman Realty

precedent puts on them by making three weak arguments. First, Plaintiffs assert that Stroman

Realty does not even apply here because the doctrine of judicial estoppel supposedly prevents

Governor Cuomo from raising the issue of personal jurisdiction in the first instance. Second,

Plaintiffs suggest that Stroman Realty is no longer good law, citing Walden v. Fiore, 571 U.S.

277 (2014). Third, Plaintiffs assert that even if it is good law, Stroman Realty can be easily

distinguished from the facts here. All three of these contentions are meritless.




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   A. Judicial Estoppel Does Not Apply to the Personal Jurisdiction Issue Here Because
      Governor Cuomo Was Not a Party to the Washington State Litigation

       Judicial estoppel is “a common law doctrine by which a party who has assumed one

position in his pleadings may be estopped from assuming an inconsistent position.” Brandon v.

Interfirst Corp., 858 F.2d 266, 268 (5th Cir. 1988). The purpose of the doctrine is “to protect the

integrity of the judicial process”, by “preventing parties from playing fast and loose with the

courts to suit the exigencies of self interest.” Id. (internal quotation marks, parentheses, and

citation omitted). Again, the doctrine is intended to protect the judicial system, rather than the

litigants. Browning Mfg. v. Mims (In re Coastal Plains, Inc.), 179 F.3d 197, 205 (5th Cir. 1999).

Courts have identified “at least two limitations on the application of the doctrine”: (1) “it may be

applied only where the position of the party to be estopped is clearly inconsistent with its

previous one”; and (2) “that party must have convinced the court to accept that previous

position.” Id. at 206 (emphasis added).

       Without spelling out their argument for the Court with absolute clarity, Plaintiffs in all

reality assert that Governor Cuomo cannot raise a personal jurisdiction defense here because

New York’s Attorney General – which is Barbara D. Underwood – joined in with seven other

sister States and the District of Columbia in the litigation brought in the Washington State

District Court, i.e., State of Washington v. United States Dep’t of State, 2:18-CV-1115-RSL

(W.D. Wash.). More specifically, Plaintiffs assert that it is inconsistent for “New York” (which

is the general language that Plaintiffs use) to bring a lawsuit in Washington State while at the

same time denying personal jurisdiction against “New York” in Texas. Dkt. No. 73 at 9.

       However, the doctrine of judicial estoppel simply does not apply here because “the party

against whom judicial estoppel is invoked must be the same party who made the prior

(inconsistent) representation.” Perry v. Blum, 629 F.3d 1, 9 (1st Cir. 2010) (emphasis added).

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In New York State, however, the Attorney General – who brought and presently litigates the

Washington State case – holds a completely separate constitutional office than the Governor.

N.Y.S. Constitution, art. V, sec. 1. The Attorney General is not appointed by the Governor;

rather each are entirely separate constitutional officers of the State of New York. Id. So,

because courts “refuse to apply judicial estoppel to one party based on the representations of an

unrelated party,” Perry, 629 F.3d at 9 (citing Tenn. ex rel. Sizemore v. Surety Bank, 200 F.3d

373, 381-82 (5th Cir. 2000); Parker v. Wendy’s Int’l, Inc., 365 F.3d 1268, 1272 (11th Cir. 2004);

Bethesda Lutheran Homes & Servs., Inc. v. Born, 238 F.3d 853, 858 (7th Cir. 2001)), the

doctrine of judicial estoppel simply does not apply here.

       In other words, because (1) New York’s Attorney General and Governor Cuomo are not

the same party; (2) New York’s Attorney General does not work for Governor Cuomo;

(3) Governor Cuomo cannot direct the Attorney General to take any particular litigation stance,

and (4) Governor Cuomo is not alleged to have been involved in the Washington State litigation

in any way, it follows that judicial estoppel cannot apply in this circumstance.

       Furthermore, it cannot even be said that New York’s Attorney General affirmatively took

a contrary position in the Washington State litigation from the position that Governor Cuomo

raises here in this Texas District Court. Stated differently, at no time did New York’s Attorney

General either implicitly or explicitly assert that the Plaintiffs would have personal jurisdiction

over Governor Cuomo in Texas. Indeed, when that Washington State litigation began, Governor

Cuomo had not even sent the cease and desist letter to Defense Distributed and he had not yet

even made the telephone call to Plaintiffs’ counsel. See First Amend. Complt., ¶¶ 103, 108.

Also, Plaintiffs do not allege that Governor Cuomo’s name was even mentioned once during the

Washington State litigation. Hence, the doctrine of judicial estoppel is completely inapplicable

for these additional reasons.
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   B. Plaintiffs’ Attempt to Diminish and then Distinguish Stroman Realty Falls Flat

   Plaintiffs assert in their opposition brief that the “[c]ease-and-desist letters deployed to

Defense Distributed in Texas are the keystone conduct that subjects each defendant to specific

jurisdiction in Texas.” Dkt. No. 73 at 11. In making this argument, the Court might at first

wonder if Plaintiffs purposely overlook the fact that cease and desist letters were also at issue in

Stroman Realty and that the Fifth Circuit explicitly held that they were insufficient to create

personal jurisdiction in Texas against out-of-state government officials. 513 F.3d at 484. Yet

Plaintiffs appear to make their contrarian argument because, in their view, the Fifth Circuit

should simply “revisit” its holding in Stroman Realty. Dkt. No. 73 at 12. Although they

confidently cite to Walden v. Fiore to assert that the Fifth Circuit simply got Stroman Realty

wrong, the cavalier claim that Stroman Realty is no longer good law is pure nonsense.

   This is so because, in Walden, the Supreme Court did nothing more than detail the facts and

holding of Calder v. Jones, 465 U.S. 783 (1984), and in Calder, the Supreme Court had held that

there are certain occasions when an intentional tort committed outside of the state, one that has

consequences or “effects” within the state, will suffice as a basis for jurisdiction in a suit arising

from those consequences if the “effects” are seriously harmful and were intended or highly likely

to follow from the nonresident defendant’s conduct. Calder, 465 U.S. at 789. The Walden court

found, though, that the Calder holding was inapplicable to the facts and circumstances at issue in

that case. 571 U.S. at 288-90. Likewise, the Stroman Realty court carefully examined Calder’s

facts and holding and it too determined that they were inapplicable to create personal

jurisdiction. 513 F.3d at 485-86. Indeed, as the Stroman Realty court properly put it, “the

Commissioner was not engaged in commercial transactions to obtain a commercial benefit by

acting in a governmental capacity to enforce Arizona law. Because no such benefit accrues to

the Commissioner from her activities relating to Texas, any jurisdiction based upon her having
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caused an ‘effect’ in Texas is likewise misplaced.” 513 F.3d at 485 (emphasis added). Walden

does not impact this holding at all. Indeed, it is quite clear that Stroman Realty is still seen as

good law within the Fifth Circuit, as it has been recently cited with approval, see Shia v. Boente,

2017 U.S. Dist. LEXIS 199772, at *13 (S.D. Tex. Nov. 16, 2017) (“[t]he Fifth Circuit has

rejected the idea that a nonresident government official may be haled into a Texas court”) (citing

with approval Stroman Realty, 513 F.3d at 485), and it should therefore certainly be applied by

this Court. See Cedillo v. Valcar Enters. & Darling Del. Co., 773 F. Supp. 932, 936 (N.D. Tex.

1991) (“As a district court bound by Fifth Circuit precedent, this court first turns to decisions of

the circuit court to ascertain whether they command the outcome in this case.”).

       Plaintiffs also assert that Stroman Realty can be easily distinguished from the facts at

issue here because “New York” (acting though its Attorney General, not Governor Cuomo)

assisted seven other States and the District of Columbia to obtain a “nationwide injunction” in

the Washington State District Court litigation. Dkt. No. 73 at 12. In making this argument,

Plaintiffs cite from the following language of Stroman Realty: “Stroman does not allege the

Commissioner has made any contacts with Texas apart from hypothetical contacts she may make

with other prospective timeshare vendors while attempting to assert ‘nationwide’ authority.” 513

F.3d at 484. To begin, the Fifth Circuit continued the thought it was making by stating

immediately thereafter: “Based on such minimal known contacts, the Commissioner, a

nonresident state official, could not have reasonably anticipated being haled into federal court in

Texas to defend her enforcement of the Arizona statute.” Id. But even more important than this

statement, it is quite clear that in Stroman Realty, the Fifth Circuit was confronted with a

governmental official that was acting on a nationwide basis to enforce the laws of her state,

including by sending other cease and desist letters – perhaps even dozens and dozens of them –

to other individuals within Texas. Id. Yet this factor still did not create “minimum contacts” in
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Texas. Id. It logically flows, then, that Governor Cuomo’s single cease and desist letter is

likewise deficient to create personal jurisdiction in Texas.

   Furthermore, it is well-established law that “[e]ach defendant’s contacts with the forum State

must be assessed individually.” Calder, 465 U.S. at 790 (emphasis added); Logan Int’l v.

1556311 Alta. Ltd., 929 F. Supp. 2d 625, 631 (S.D. Tex. 2012) (same). Applying that crucial

principle here, the fact that the New York’s Attorney General was (and is) involved in the

Washington State litigation and obtained a “nationwide injunction” cannot create “minimum

contacts” in Texas as related to a separate New York government official – Governor Cuomo.

Indeed, it is simply not permissible for Plaintiffs to cobble together the actions of New York’s

Attorney General with the actions of Governor Cuomo to determine if Governor Cuomo can be

haled into a Texas district court, since that would not be an individual assessment of Governor

Cuomo’s contacts. It is Governor Cuomo’s actions – and his actions alone – that determine if

minimum contacts exist. And they clearly do not.

   Stroman Realty is, therefore, the hinge case upon which this entire jurisdictional issue turns

and it acts to slam the door on there being any claim to personal jurisdiction over Governor

Cuomo here in Texas.


                                             POINT II

       WITH REGARDS TO GOVERNOR CUOMO, VENUE IS STILL
       IMPROPER IN THE WESTERN DISTRICT OF TEXAS.

       First of all, “[w]hen a court dismisses a claim for lack of personal jurisdiction, a motion

to dismiss for improper venue becomes moot.” Mercer v. McKenzie Tank Lines, Inc., 2018 U.S.

Dist. LEXIS 109892, at *12 (S.D. Tex. July 2, 2018). Thus, since this Court should rightly grant

dismissal for lack of personal jurisdiction here, the venue issue should become moot.



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        Nonetheless, invoking 28 U.S.C. § 1391(b)(2), Plaintiffs assert venue here because, as

they state, “a substantial part of the property that is subject of the action is situated here.” First

Amend. Complt., ¶ 24 (emphasis added). In truth, though, Plaintiffs’ claims against Governor

Cuomo are clearly based upon actions – not property – that Governor Cuomo took in New York,

not in Texas. Indeed, as is noted in his opening brief, Governor Cuomo is based in New York,

the sole cease and desist letter was sent from New York, and Governor Cuomo made the sole

telephone call to Plaintiffs’ counsel from New York. Furthermore, it is undisputed that

Governor Cuomo makes no claim to the supposed “property” asserted by Plaintiffs as being at

issue here, that being the Plaintiffs’ computer servers and/or computer files containing

instructions on how to produce untraceable and nearly-undetectable 3-D guns. Stated differently,

Governor Cuomo has not attempted to get Plaintiffs to turn over the 3-D gun-related servers or

computer files; he has instead threatened legal action in New York if Defense Distributed

distributes that uniquely dangerous material to New York residents. That, quite simply, makes

the location of the supposed property at issue here completely irrelevant. This is entirely

determinative because, as noted in Governor Cuomo’s opening brief, in deciding whether or not

venue is proper, district courts “look[] to the defendant’s conduct, and where that conduct took

place.” Bigham v. Envirocare of Utah, Inc., 123 F. Supp. 2d 1046, 1048 (S.D. Tex. 2000)

(emphasis added). Under this standard, venue is improper here in Texas.


                                              POINT III

        PLAINTIFFS HAVE NOT SHOWN THAT THIS ACTION IS RIPE AS
        AGAINST GOVERNOR CUOMO UNDER GOOGLE, INC. V. HOOD, 822
        F.3d 212 (5th Cir. 2016).

        In his opening brief, Governor Cuomo cited this Court to Google, Inc. v. Hood, 822 F.3d

212, a declaratory judgment challenge in which the Fifth Circuit held that a non-self-executing

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subpoena that the Mississippi Attorney General issued to Google was not ripe for review in

federal district court. Plaintiffs have wholly failed to distinguish the present case from Google,

and thus dismissal on ripeness grounds is also warranted based upon that case.

       As background, before Google responded to the Mississippi Attorney General’s

subpoena, and before Google sought relief in Mississippi state court related to that subpoena,

Google filed a declaratory judgment challenge to the subpoena in federal court. Id. at 219.

There, Google alleged, among other things, that the Mississippi Attorney General’s investigation

violated its immunity rights under a federal statute, and that any further proceedings to enforce

the subpoena would likewise violate those same rights. Id. at 219-20. The Mississippi Attorney

General moved to dismiss the case on numerous grounds, including that Google’s claims were

not ripe for adjudication. Google, Inc. v. Hood, 96 F. Supp. 3d 584, 592 (S.D. Miss. 2015),

rev’d, 822 F.3d 212. The district court disagreed, however, and found that the claims were ripe

because “Google is not required to expose itself to civil or criminal liability before bringing a

declaratory action to establish its rights under federal law, particularly where the exercise of

those rights have been threatened or violated.” Id. at 594. But the Fifth Circuit reversed the

district court and held that the “administrative subpoena was not ripe for adjudication.” Google,

822 F.3d at 224.

       The Fifth Circuit so held for three specific reasons: (1) the subpoena was “non-self-

executing,” meaning that Google could not be sanctioned for not complying with it; (2) the

Mississippi Attorney General could, but did not file a state court action to enforce Google’s

compliance; and (3) if the Mississippi Attorney General did file such a suit, Google could raise

its claimed federal immunity rights as a defense in state court. Google, 822 F.3d at 225-26.

       As Governor Cuomo argued in his opening brief, this case is clearly analogous to the

matter at bar. The cease and desist letter at issue in the present case is also not self-executing;
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instead, if Defense Distributed refuses to comply with it, Governor Cuomo would have to decide

whether to initiate a nuisance action against Defense Distributed. And if Governor Cuomo

decided to bring a nuisance action in a New York State court, Plaintiffs could raise before that

state court all of the objections that it raises here. That quite frankly means that, under Google,

this matter is not yet ripe for review. Nothing that Plaintiffs assert in their opposition brief,

including their passing mention of Google in a footnote related to the issue of “standing”, not

“ripeness”, see Dkt. No. 73 at 4 n.2, adequately distinguishes Google from the matter at bar.

Thus dismissal is appropriate on ripeness grounds as well.


                                          CONCLUSION

       In summary, the Court should grant Governor Cuomo’s Motion to Dismiss for the

reasons advanced in Governor Cuomo’s opening memorandum of law and those advanced here

in his reply memorandum of law.

Dated: December 19, 2018                       Respectfully submitted,
       Dallas, Texas
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2018, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send notification of such filing to the
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